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                             UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

                                                   :
Brandy Samuel,                                     :                   6:10-cv-59
                                                     Civil Action No.: ________
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
ER Solutions, Inc.; and                            :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                     JURY
                                                   :
                                                   :
                        Defendants.                :


        For this Complaint, the Plaintiff, Brandy Samuel, by undersigned counsel, states as

follows:


                                         JURISDICTION

        1.      This action arises out of the Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of the

Plaintiff’s personal privacy by the Defendant and its agents in their illegal efforts to collect a

consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiff, Brandy Samuel (“Plaintiff”), is an adult individual residing in Tyler,

Texas, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).
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        5.     The Defendant, ER Solutions, Inc. (“ERS”), is a Washington business entity with

an address of 800 SW 39th Street, Renton, Washington 98057, operating as a collection agency,

and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

        6.     Does 1-10 (the “Collectors”) are individual collectors employed by ERS and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

        7.     ER Solutions, Inc. at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

A.      The Debt


        8.     A financial obligation was incurred (the “Debt”) to a creditor (the “Creditor”) by

an unknown party.

        9.     The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under 15

U.S.C. § 1692a(5).

        10.    The Debt was purchased, assigned or transferred to ERS for collection, or ERS

was employed by the Creditor to collect the Debt.

        11.    The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


B.      ERS Engages in Harassment and Abusive Tactics


        12.    The Defendants called the Plaintiff between ten and twenty times per day

attempting to collect the Debt owed by an individual named “Brenda Rogers”.



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        13.    The Plaintiff has always explained to the Defendants that the Debt does not

belong to her, nor has she ever heard of an individual named “Brenda Rogers.”

        14.    The Defendants never identify the name of the individual debt collector or name

of the debt collection agency they are calling on behalf of when calling the Plaintiff.

        15.    The Defendants never mailed correspondence to the Plaintiff regarding the Debt

and failed to inform her of her legal rights, nor did they provide information about the Debt or

“Brenda Rogers”.

        16.    The Defendants are rude and abusive towards the Plaintiff constantly harassing

her and telling her “we don’t believe you don’t know who Brenda Rogers is.”

        17.    The Defendants constantly harass the Plaintiff, telling her “you need to take over

this debt for Brenda Rogers, it needs to be paid”.

        18.    The Plaintiff has demanded that the Defendants cease calling her about somebody

else’s debt to no avail. The Defendants continued in their harassing tactics, attempting to collect

the Debt from a person who has no association with said Debt.


C.      Plaintiff Suffered Actual Damages


        19.    The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

        20.    As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

        21.    The Defendants’ conduct was so outrageous in character, and so extreme in

degree, as to go beyond all possible bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

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                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

        22.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        23.     The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(1) in that Defendants

contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

        24.     The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.

        25.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

        26.     The Defendants’ conduct violated 15 U.S.C. § 1692d(6) in that Defendants placed

calls to the Plaintiff without disclosing the identity of the debt collection agency.

        27.     The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

        28.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(1) in that Defendants

failed to send the Plaintiff a validation notice stating the amount of the Debt.

        29.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(2) in that Defendants

failed to send the Plaintiff a validation notice stating the name of the original creditor to whom

the Debt was owed.

        30.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(3) in that Defendants

failed to send the Plaintiff a validation notice stating the Plaintiff’s right to dispute the Debt

within thirty days.




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        31.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(4) in that Defendants

failed to send the Plaintiff a validation notice informing the Plaintiff of a right to have

verification and judgment mailed to the Plaintiff.

        32.    The Defendants’ conduct violated 15 U.S.C. § 1692g(a)(5) in that Defendants

failed to send the Plaintiff a validation notice containing the name and address of the original

creditor.

        33.    The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that Defendants

continued collection efforts even though the Debt had not been validated.

        34.    The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        35.    The Plaintiff is entitled to damages as a result of Defendants’ violations


                                   COUNT II
                VIOLATIONS OF THE TEXAS DEBT COLLECTION ACT
                        TEX. FIN. CODE ANN. § 392, et al.

        36.    Plaintiff incorporates by reference all of the above paragraphs of this Complaint

as though fully stated herein.

        37.    The Plaintiff is a “consumer” as defined by Tex. Fin. Code Ann. § 392.001(1).

        38.    The Defendants are each a “debt collector” and a “third party debt collector” as

defined by Tex. Fin. Code Ann. § 392.001(6) and (7).

        39.    The Defendants caused a telephone to ring repeatedly, with the intent to annoy or

abuse the Plaintiff, in violation of Tex. Fin. Code Ann. § 392.302(4).

        40.    The Plaintiff is entitled to injunctive relief and actual damages pursuant to Tex.

Fin. Code Ann. § 392.403(a)(1) and (2) and to remedies under Tex. Bus. & Comm. Code

§ 17.62 pursuant to Tex. Fin. Code Ann. § 392.404(a).


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                                COUNT III
          INVASION OF PRIVACY BY INTRUSION INTO PRIVATE AFFAIRS

       41.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       42.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       43.     Texas further recognizes the Plaintiff’s right to be free from invasions of privacy,

thus the Defendants violated Texas state law.

       44.     To establish a claim for invasion of privacy by intrusion into private affairs, the

plaintiff must show: (1) the defendant intentionally intruded of the plaintiff’s solitude, seclusion,

or private affairs; (2) the intrusion would be highly offensive to a reasonable person; and (3) the

plaintiff suffered an injury as a result of the defendant’s intrusion. Valenzuela v. Aquino, 853

S.W.2d 512, 513 (Tex. 1993).

       45.     The Defendants intentionally intruded upon the Plaintiff’s right to privacy by

continually harassing the Plaintiff with constant phone calls about a debt that belongs to an

individual that the Plaintiff has never heard of.

       46.     The telephone calls made by the Defendants to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to his existence,” thus satisfying the Restatement of Torts, Second, § 652(b) and Texas

law requirements for an invasion of privacy.




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       47.     The conduct of the Defendants in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       48.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from the Defendants.

       49.     All acts of the Defendants and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, the Defendants are subject to punitive damages.


                                      PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff prays that judgment be entered against the Defendants:

                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against the Defendants;

                   2. Statutory damages of $1,000.00 for each violation pursuant to 15 U.S.C.

                        § 1692k(a)(2)(A) against the Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                        § 1692k(a)(3) against the Defendants;

                   4. Injunctive relief pursuant to Tex. Fin. Code Ann. § 392.403(a)(1);

                   5. Actual damages pursuant to Tex. Fin. Code Ann. § 392.403(a)(2);

                   6.     Remedies under Tex. Bus. & Comm. Code § 17.62 pursuant to Tex. Fin.

                        Code Ann. § 392.404(a);

                   7. Actual damages from the Defendants for the all damages including

                        emotional distress suffered as a result of the intentional, reckless, and/or

                        negligent FDCPA violations and intentional, reckless, and/or negligent

                        invasions of privacy in an amount to be determined at trial for the Plaintiff;

                   8. Punitive damages; and


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                 9. Such other and further relief as may be just and proper.

                   TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: February 23, 2010

                                            Respectfully submitted,
                                            By: __/s/ Diana P. Larson_________
                                            Diana P. Larson, Lead Attorney
                                            Texas Bar No. 24007799
                                            The Larson Law Office, PLLC
                                            440 Louisiana, Suite 900
                                            Houston, Texas 77002
                                            Telephone: (713) 221-9088
                                            Facsimile: (832) 415-9762
                                            Email: diana@thelarsonlawoffice.com

                                            Of Counsel To:
                                            LEMBERG & ASSOCIATES L.L.C.
                                            A Connecticut Law Firm
                                            1100 Summer Street, 3rd Floor
                                            Stamford, CT 06905
                                            Telephone: (203) 653-2250
                                            Facsimile: (877) 795-3666

                                            ATTORNEYS FOR PLAINTIFF




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